Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3807 Page 1 of 621




 1                   IN THE UNITED STATES DISTRICT COURT

 2                              DISTRICT OF UTAH

 3                              CENTRAL DIVISION

 4

 5    UNITED STATES OF AMERICA,        )

 6                 Plaintiff,          )

 7        vs.                          )   Case No.   2:16-CR-631-DAK

 8    AARON MICHAEL SHAMO,             )

 9                 Defendant.          )

10    ____________________________)

11

12                  BEFORE THE HONORABLE DALE A. KIMBALL

13                 --------------------------------------

14                              August 12, 2019

15                                 Jury Trial

16                             Opening Statements

17

18

19

20

21

22

23

24    REPORTED BY: Patti Walker, CSR, RPR, CP           801-364-5440

25    351 South West Temple, #8.431, Salt Lake City, Utah           84101
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3808 Page 2 of 622




 1                           A P P E A R A N C E S

 2

 3

 4    For Plaintiff:                        Michael Gadd
                                            Vernon G. Stejskal
 5                                          Kent A. Burggraaf
                                            U.S. ATTORNEY'S OFFICE
 6                                          111 South Main Street, #1100
                                            Salt Lake City, Utah 84111
 7

 8
      For Defendant:                        Gregory G. Skordas
 9                                          Kaytlin V. Beckett
                                            SKORDAS & CASTON LLC
10                                          560 South 300 East, #225
                                            Salt Lake City, Utah 84111
11

12                                          Daryl P. Sam
                                            DARYL P SAM PLLC
13                                          5955 S. Redwood Road, #102
                                            Salt Lake City, Utah 84123
14

15

16

17

18

19

20

21

22

23

24

25
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3809 Page 3 of 623




 1      SALT LAKE CITY, UTAH; MONDAY, AUGUST 12, 2019; 8:30 A.M.

 2                      (Proceedings not transcribed)

 3                THE COURT:    The government may proceed with its

 4    opening statement.

 5                MR. GADD:    Thank you, Your Honor.

 6                Death, drugs, and money, that's why we're here.

 7    That man right there, Mr. Aaron Michael Shamo, founded and

 8    led an organization dedicated to the distribution of drugs.

 9    Mr. Shamo and his employees, they made their own drugs.

10    They pressed together drugs, specifically drugs that were

11    almost identical to Oxycodone.        Oxycodone is a painkiller.

12    But Mr. Shamo's fake Oxycodone contained Fentanyl.           Fentanyl

13    is a powerful synthetic opioid.        Mr. Shamo sold his Fentanyl

14    pills online.     In 2016, he sold hundreds of thousands of

15    Fentanyl pills.     He made millions of dollars.       And

16    Mr. Shamo's Fentanyl killed a man.        That's why we're here.

17                In the short time I have with you this morning, I

18    want to first review the time line of this case.           And then

19    once we've done that, I want to talk to you about the

20    evidence that you're going to hear over the next four weeks

21    as it relates to these other topics you see on the screen.

22    If at any point you don't see something on the screen, if

23    you'll just raise your hand.       That's true now or for any

24    time at trial.

25                In the beginning, Mr. Shamo started selling drugs
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3810 Page 4 of 624




 1    with a roommate, a friend of his, Drew Crandall.           That's who

 2    you see pictured there.      Mr. Crandall was a junior partner,

 3    a one-third partner, meaning Mr. Crandall got one-third of

 4    the profits, Mr. Shamo got two.        And they divided up their

 5    roles.   Mr. Shamo was in charge of listing the drugs for

 6    sale online.    He was in charge of customer service.         He was

 7    in charge of order processing.        He made the decision on what

 8    drugs they were going to sell and acquiring those drugs so

 9    that they could sell them.       And, lastly, Mr. Shamo accepted

10    payment for the drugs.

11                The payment for drugs bought online comes in the

12    form of cryptocurrency, and you're going to hear about one

13    particularly in this case.       That's Bitcoin.

14                His partner, his friend, Drew Crandall, was in

15    charge of packaging the drugs and then shipping those drugs,

16    once they had a customer who made a purchase.          And then

17    towards the end of his hands-on involvement, Mr. Crandall

18    worked with Mr. Shamo to develop a process and a recipe for

19    pressing pills.     Specifically they made counterfeit Xanax

20    that looked almost identical to the ones you see pictured

21    there.

22                But in 2015, Mr. Crandall got spooked.         Two things

23    happened.    The first is his girlfriend lost her job because

24    of her association with Mr. Shamo and Mr. Crandall.           And

25    then, second, Mr. Shamo ordered some drugs delivered to
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3811 Page 5 of 625




 1    their address in the name of a roommate.         Those drugs got

 2    caught in the mail.      The roommate was questioned by law

 3    enforcement.    And that was enough for Mr. Crandall and he

 4    said I'm out.     So he made plans with his girlfriend to leave

 5    the United States.

 6                Mr. Shamo agreed to buy him out.        They negotiated

 7    a price.    Settled on 30,000.     And then over the next months,

 8    Mr. Shamo worked to find replacements for his one-time

 9    partner.    Together, they hired and trained these two women,

10    Alex Tonge and Katie Bustin, to take over packaging the

11    drugs and then shipping the drugs.

12                Later, in November of 2015, shortly before

13    Mr. Crandall was going to fly overseas, Mr. Shamo hired his

14    very close friend, Luke Paz, to take over pressing the

15    pills.

16                In that same month, November 2015, Mr. Shamo went

17    to a new website where you can buy drugs online.           The

18    website is called AlphaBay.       Mr. Shamo created an account on

19    AlphaBay so that he could be a seller.         He named his

20    account, his storefront Pharma-Master.         Much of the evidence

21    you're going to hear over the next four weeks will come from

22    Mr. Shamo's drug sales as Pharma-Master.

23                Working together, Mr. Shamo, and his new employee,

24    Mr. Paz, developed a process and a recipe to create those

25    fake Oxycodone pills I mentioned, the ones that contained
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3812 Page 6 of 626




 1    Fentanyl.    They're fakes.     Looked almost identical to the

 2    real thing, like you see pictured here.         Mr. Shamo sold

 3    those Fentanyl pills on AlphaBay.

 4                AlphaBay kept records.      So agents and analysts

 5    went back, captured as much of the records as they could,

 6    and then they put it in a table here for you.          What you're

 7    looking at, if you look on the left column, that's the date.

 8    So this first page you're looking at here, this is his sales

 9    in January 2016.     The next column over, you can see a first

10    and last initial for the user name of the purchaser.           Then

11    you can see what price they paid.        Each row, of course, is

12    its own sale.     Then there's a column for dose.       That was as

13    it was supplied online by Mr. Shamo.         The quantity of pills

14    that they purchased.      Lastly, under the column that says

15    sold as, this was the name Mr. Shamo gave the drugs that he

16    was selling.    So as you look down that far right column, you

17    can see in January of 2016, most of Mr. Shamo's drug sales

18    were his counterfeit Xanax.

19                By the end, in November of 2016, if you look in

20    that same right column, most of his drug sales were his

21    Fentanyl pills, and he had three different names under which

22    he would sell his Fentanyl pills.        So if you're in the far

23    right column and you look down at the bottom, second one up,

24    you can see there it says Fentanyl, Roxy-Oxycodone.           So

25    sometimes right in the listing he would tell his would-be
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3813 Page 7 of 627




 1    customers that his product contained Fentanyl.          And then

 2    that next word, Roxy, that's a street name for a particular

 3    type of Oxycodone.

 4                Other times he would list his drugs, but he

 5    wouldn't include Fentanyl in the title.         So if you look one

 6    row up, you can see it says Roxy-Oxycodone.

 7                Then the third way he would list his Fentanyl

 8    pills, if you go up six, seven rows, you see M Box 30.

 9    That's another street name for a type of Oxycodone pill, and

10    it gets its name for how the pill is stamped when it's

11    pressed together by the pharmaceutical company.          He sold

12    this Fentanyl in those three ways.

13                As he and Mr. Paz worked on their process and

14    their recipe and perfected their fakes, his sales

15    skyrocketed.    By the end, you can notice in the quantity

16    column, he's no longer selling one, ten, 100 pills

17    exclusively.    He has large orders.      You can see in the

18    middle of the page there, there's a single order for 10,000

19    pills.   The row right above that, that's the same purchaser.

20    That purchaser on one day purchased 12,000 of the M Box 30s,

21    Mr. Shamo's Fentanyl pills.

22                Mr. Shamo, of course, couldn't do this alone.          He

23    had the help that I've mentioned before.         He had these folks

24    working for him.     But in the spring of 2016, he hired

25    additional help.     He hired this man, a close friend, someone
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3814 Page 8 of 628




 1    he could trust, Mario Noble, a former coworker of his, and

 2    he hired Mr. Noble to do online customer support, and then

 3    to also help with order processing when Mr. Shamo was away.

 4                Mr. Shamo solicited his old friend, Drew Crandall,

 5    who was living overseas, and brought him on board in the

 6    summer of 2016 to also help with customer support as their

 7    sales continued to take off.

 8                In the summer, two women, Ms. Tonge and

 9    Ms. Bustin, they started to get burned out.          They would have

10    to not only package the pills but put the postage label on,

11    address the packages, and then they were taking it to blue

12    collection boxes, the post office boxes that they put around

13    the community.     So Mr. Shamo hired this man, another trusted

14    associate of his, Sean Gygi, to take over that last part of

15    Ms. Tonge's and Ms. Bustin's role.

16                So most nights of the week, Mr. Gygi would show up

17    at a doorstep in Daybreak, and he would pick up packages and

18    envelopes, and then take those himself to the blue

19    collection boxes and drop them off.

20                You're going to hear from the people that you see

21    pictured there, starting with Mr. Paz, and then the bottom

22    row.   Mr. Shamo's organization was bigger even than this.

23                We've talked about most of the people in the

24    middle row here.     Let's take just a minute and talk about

25    the two people on the left.       So you see Gabby Noriega on the
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3815 Page 9 of 629




 1    far left.    Mr. Shamo hired her to be the functional

 2    equivalent of his executive assistant.         She would run

 3    errands, pick up groceries, grab Cafe Rio.          But she was also

 4    asked to do things like buy postage, $6,000 worth of postage

 5    at a time, so that you could make sure that Ms. Tonge and

 6    Ms. Bustin always had enough postage to keep the process

 7    running.

 8                Next to her, Mr. Kenny, Chris Kenny.        Mr. Shamo,

 9    most of his customers were online, but he did have a local

10    customer, Mr. Kenny, and it was through Mr. Kenny that he

11    got feedback early on about his fake pills.          So Mr. Kenny

12    would, for example, tell him how the pills worked in

13    relation to a legitimate Oxycodone pill.

14                Then on the bottom row, far left, Miles Penrose.

15    Early on, Mr. Shamo and Mr. Crandall, they were cash poor,

16    and their friend Miles Penrose, who at the time owned part

17    of a used truck dealership, he invested $10,000 in their

18    drug distribution activities.       Over a period of months, they

19    paid him back $30,000.      Mr. Penrose will also come up in

20    this trial because he helped them launder some of their drug

21    money, including selling Mr. Shamo his truck.

22                Then bottom row, far right, with the dyed red hair

23    is Alex Tebbs.     She had a role very similar to Ms. Noriega,

24    but for a shorter period of time.        She would buy stamps for

25    Mr. Shamo at his request, and then get reimbursed.           Then she
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3816 Page 10 of 10
                                                                            62




  1    also helped him in a failed attempt to try to buy a T-shirt

  2    business.    He was looking for a legitimate business through

  3    which he could launder his drug money.

  4                The rest of the people you see on the bottom row,

  5    they were all package receivers.       I mentioned he had the one

  6    package that came to his roommate that got caught.          There

  7    was risk for Mr. Shamo any time he tried to import drugs

  8    from overseas, and specifically Fentanyl from China.          So

  9    Mr. Shamo hired everyone else on the bottom row to receive

 10    packages on his behalf.      And for two or $300 per package,

 11    with no questions asked, they would turn it over to

 12    Mr. Shamo so that he could import the ingredients he needed

 13    to press his pills.

 14                By the fall of 2016, Mr. Shamo, who was helped at

 15    times by Mr. Paz, spent a fair amount of his effort

 16    converting his drug money, his Bitcoin, into cash, into

 17    dollars.    Most of those transactions were relatively small,

 18    but they found some Bitcoin buyers out of California who

 19    were willing to do larger transactions.        The largest single

 20    transaction they engaged in, one transaction was for

 21    $400,000.

 22                By November of 2016, Mr. Shamo's days would have

 23    been largely consumed with pressing pills with Luke Paz,

 24    converting Bitcoin to cash with Paz and others, order

 25    processing, and customer service.       Even though he had hired
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3817 Page 11 of 11
                                                                            62




  1    Mr. Noble and Mr. Crandall, he still had a hand in it.

  2    Whenever they would run into a problem, they would flag the

  3    issue for him and he made final decisions.         He had to make

  4    sure that Ms. Tonge and Ms. Bustin stayed fully supplied

  5    both on postage and on drugs so that they could keep the

  6    process running.

  7                I mentioned there was some risk in importing

  8    Fentanyl from China, and that's eventually how Mr. Shamo was

  9    caught.    It was this package right here that led to his

 10    arrest.    Looking in now, you can see that that package is

 11    addressed to Ryan Jensen in Midvale.        Ryan Jensen is one of

 12    those package receivers.      You can see there it comes from

 13    China.    This package came through the international mail

 14    facility in Long Beach.      So that's where it hit sovereign

 15    soil here.

 16                The Customs and Border Protection watches packages

 17    as they come in, and some of the officers from Customs and

 18    Border Protection checked this package.        They opened it up.

 19    They found a Mylar bag.      Inside that Mylar bag, a plastic

 20    bag, and inside of that, white powder.        That powder was

 21    tested by a scientist at the DEA laboratory and they

 22    confirmed that it was Fentanyl.

 23                The agents built up a case and an investigation

 24    against Jensen, the man whose name was on the package.           And

 25    by November 1st of 2016, they had enough in their
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3818 Page 12 of 12
                                                                            62




  1    investigation that they were able to apply for and then

  2    receive a search warrant.      They executed the search warrant

  3    at his house.    They interviewed Mr. Jensen, and he

  4    confessed.    He told them that he was accepting packages on

  5    Mr. Shamo's behalf.     Mr. Shamo was a friend of his.

  6    Mr. Shamo would pay him two, $300 for every package he

  7    received.    And Mr. Jensen told the investigators about other

  8    people that he suspected were doing the same thing.

  9                One of those people was Sean Gygi.       About a week

 10    later, at this point, agents, postal inspectors, all working

 11    together, they were watching the mail closely for any

 12    packages from China coming to Mr. Shamo's associates, and

 13    they caught this one that you see there, addressed to

 14    Mr. Gygi.    With a search warrant, they opened it up.        They

 15    looked inside.    They saw this inner packaging, kind of the

 16    cartoon character packaging, and then inside of that powder.

 17    That was tested.    It's Alprazolam.     That's the

 18    pharmaceutical ingredient in the counterfeit Xanax pills.

 19                At the same time period, they caught one

 20    additional package going to Mr. Gygi.        Inside of it, the

 21    same packaging, the cartoon character.        This one had a

 22    slightly different powder in it.       Tested, and it was

 23    Fentanyl.

 24                With that, agents had enough to apply for and

 25    receive a search warrant for Mr. Gygi's residence.          They
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3819 Page 13 of 13
                                                                            62




  1    executed the warrant, and then they interviewed him.          He was

  2    hesitant at first.     There was a moment in the interview

  3    where the agents told him that he had been accepting

  4    packages that contained Fentanyl, and the agents watched as

  5    his countenance changed.

  6               When the interview was over, they let him go.          He

  7    went home that night and thought long and hard.         And the

  8    next morning he called up the agents and said we need to

  9    talk.   He told them that not only was he accepting packages

 10    from Mr. Shamo but, earlier that year, he had been hired to

 11    do more.   He had been hired as a runner.       He told the agents

 12    about this porch in Daybreak where he would go most nights

 13    of the week and pick up boxes, and then take those boxes and

 14    put them into the mail.

 15               He agreed to do two things.       First, he agreed to

 16    have a conversation with Mr. Shamo and record the

 17    conversation and talk about -- Mr. Shamo paid him during the

 18    conversation, he got paid every two weeks $2,000 -- and then

 19    to talk about their future plans.       You're going to hear that

 20    recording during the trial.      And then, second, he agreed to

 21    take the agents with him that night to pick up packages off

 22    that doorstep in Daybreak, the doorstep of Ms. Tonge and

 23    Ms. Bustin.

 24               So they went out that night.       He had missed the

 25    night before.    And so when he got the packages and then
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3820 Page 14 of 14
                                                                            62




  1    turned them over to the agents, there were 79 packages and

  2    envelopes, total.     Here they are spread out, which you can

  3    see there is the largest boxes in the back, and the medium

  4    size boxes in the middle, and then priority mail envelopes

  5    in the front.

  6                Here's looking inside one of the boxes.        When the

  7    agents opened the boxes, they found Mylar bags and then an

  8    invoice.    You can see that at the bottom of your screen.

  9    It's for Jamaica green coffee.       It's meant to be coffee

 10    beans.    Inside of the Mylar bags, plastic bags.       And then

 11    the plastic bags contained pills that were confirmed

 12    Fentanyl.    This one box is just shy of 20,000 pills.        You

 13    can see that in the second red box there.

 14                Here's looking at a couple more seized that night.

 15    More pills.    You can see the addresses that these are being

 16    shipped to.    This going to New York, New York.

 17                Mr. Gygi took the agents out two nights later for

 18    another pickup, this time just over 40 packages and parcels.

 19    Here's one of the large boxes they got that night.          This was

 20    tested.    It has Fentanyl.    You can see that in the red box.

 21    This other drug you see in the red box with the parentheses

 22    ANPP at the end, this is a Fentanyl precursor.         So this

 23    Fentanyl is created in a chemistry lab in China and then

 24    shipped over here.     The precursor wasn't fully synthesized,

 25    and the DEA tests are sensitive enough that they were able
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3821 Page 15 of 15
                                                                            62




  1    to pick it up in addition to the Fentanyl that Mr. Shamo was

  2    putting inside of his pills.

  3                Here's more from that second night with Mr. Gygi's

  4    help.    Not all the packages were large.      Here's a priority

  5    mail envelope.

  6                By November 22nd, the agents had enough that they

  7    applied for and received a search warrant to search

  8    Ms. Tonge's and Ms. Bustin's residence in Daybreak.          When

  9    they got inside, this is what they found.        Pills all over

 10    the floor.    Packaging material.     You can see the name there,

 11    Uline.    Uline is a company that sells packaging material,

 12    including Mylar bags.     Postage, padded envelopes, priority

 13    mailboxes you can see in the pile there.        A digital scale.

 14    A large stock of drugs.      There's a plastic tote there full

 15    of drugs.    On top of that, more bags of the Fentanyl pills.

 16    Pills on the bed.     Here's their vacuum.     The pills would

 17    spill on the floor.     They'd just vacuum them up.

 18                The drugs were taken from the residence, taken to

 19    the DEA where they were photographed, tagged, bagged, and

 20    then sent to the lab.     Those drugs, what you're seeing in

 21    the picture, that's what's here in front of us.         These

 22    totes, specifically the sealed totes -- you can see, for

 23    example, this one is taped around it.        The sealed ones

 24    contain his Fentanyl pills, the unsealed ones, everything

 25    else.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3822 Page 16 of 16
                                                                            62




  1               This is the largest single exhibit, the largest

  2    one place where pills were gathered during this

  3    investigation.    It's this one right here.      That one exhibit,

  4    that one has more than 74,000 pills in it.

  5               At the same time the agents were executing that

  6    warrant, another group of agents executed a warrant on

  7    Mr. Shamo's residence.     He lived on Titian Way in Cottonwood

  8    Heights.   Because of the strong suspicion that he was

  9    pressing Fentanyl, powdered Fentanyl inside of his home, the

 10    warrant had to be executed by agents wearing HAZMAT gear.

 11    Many agencies and local police departments were involved.

 12    For example, you get the DEA and their HAZMAT team.          They

 13    were also supported by Homeland Security Investigations,

 14    Postal Inspection Service, Food and Drug Administration, the

 15    IRS as a criminal investigative team.        They were helping

 16    with the financial side of the investigation.         The fire

 17    department was on hand to help decontaminate, and then for

 18    rescues, if needed.     The National Guard has a HAZMAT team

 19    that came out to help, and it took all the help.          Here they

 20    are getting ready.

 21               When they got inside, they found an old, single

 22    punch pill press, in a wood cabinet, not being used.          They

 23    found a brand new industrial size pill press in a crate in

 24    the garage, which hadn't been used.       They found boxes, and

 25    inside the boxes that same cartoon character packaging, and
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3823 Page 17 of 17
                                                                            62




  1    then bags of powders.     They found boxes and boxes of this

  2    formula 5,000.    This is the ingredients going into the

  3    pills.    You can see there most of it, that top line, is

  4    microcrystalline cellulose.      But it also has some other

  5    ingredients.    There were kilograms of it in these boxes in a

  6    closet.

  7                Let me orient you on this picture.       So you're

  8    looking down at HAZMAT boots, and then this is a crate using

  9    the stainless steel pry bar behind the lid of the crate.

 10    They popped open the lid.      The crate looks like it has

 11    bricks inside, but that box is on its end.         They pulled one

 12    out, took the lid off and set it down so you could see what

 13    was inside the box.     The cylinders in that box, those are

 14    punches that go into the press.       So the punches come

 15    together.    And then there's a metal plate called a die in

 16    the middle that's holding the powder.        The punches come

 17    together with force and it presses together the pill.

 18                The tip of the punch is embossed so that when it

 19    presses together, it leaves an imprint on the pill.          Those

 20    are here, and you'll get to see them.

 21                Here's more, the punches on this shelf.        These

 22    punches would wear out over time, which is why he was buying

 23    more and more of them.

 24                In the basement they found a room that was

 25    lockable and it had a pill press running.        If you look at
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3824 Page 18 of 18
                                                                            62




  1    the wall, you can see the powder on the wall.         Then closer

  2    up, you can see powder spilling out onto the shelf of the

  3    pill press.

  4               Now looking around the room, you can see mason

  5    jars and lids on that back table.       Mr. Shamo and whomever

  6    was helping him press, either Mr. Crandall before and then

  7    Mr. Paz who he hired after, they would shake up the

  8    ingredients in those mason jars.       That's how they'd mix

  9    their ingredients before putting them into the press.

 10               You can see dies, colors, bags of pills on the

 11    shelves.   Zooming in here, you can see the white bottle with

 12    the red that says relaX.      It's a lubricant for machine

 13    parts.   The presses' moving parts had to be lubricated.

 14    Every time they replaced one of the punches, they would have

 15    to lubricate that before it went back in.        More ingredients.

 16               They took some precautions.       When Mr. Shamo was --

 17    when the agents made entry into his home as part of the

 18    search warrant, he was downstairs.       They called him up, and

 19    then passed him out so he could be decontaminated and then

 20    taken into custody.     He had gloves and his mask on him when

 21    he came up.

 22               Here's the other side of the room.        That's the

 23    Fentanyl press.    Looking closer, the powder, the

 24    ingredients, the binding agents, the colors, the Fentanyl,

 25    once it's all mixed up, it would go into this hopper on top,
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3825 Page 19 of 19
                                                                            62




  1    and then go down through the funnel into kind of like the

  2    bowl in the middle.     Then powder is moved around that bowl

  3    and the punches work.     It's a rotary press, so there's lots

  4    of punches and it's running around like this.         Every time a

  5    pill is punched and pressed together, it goes down the chute

  6    you can see coming down the bottom of the photo, and then

  7    into a net at the very bottom of the photo.

  8               Much of what was in this room was contaminated.

  9    It was destroyed.     It's hazardous.    But the agents took

 10    samples.   And then they also pulled out the punches so that

 11    the punch and the punched tip could be tested by the lab.

 12    The punches that came out of this press, the lab, they did a

 13    residue test on and it was confirmed Fentanyl.

 14               The agents didn't stop their search there.         They

 15    continued to look in places they normally look during

 16    searches, including in his dresser.        In his top drawer, they

 17    didn't find clothes.     In his bottom drawer, he had cash.

 18    Here's one of those stacks, for example.        Cash in drawers

 19    like this one.    He had a safe full of cash.       $1.2 million in

 20    cash pulled out of his home.

 21               They also seized electronic devices, and much of

 22    the evidence you're going to hear over the next four weeks

 23    comes from Mr. Shamo's electronics, specifically an iMac

 24    computer, that one, and then two of his cell phones.          He had

 25    an iPhone 6S and then an iPhone 7.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3826 Page 20 of 20
                                                                            62




  1               The agents worked late into the night processing

  2    Mr. Shamo's house.     I mentioned that they took samples of

  3    the powders before things were destroyed.        That's what you

  4    see going on here.     Anytime there was evidence that could be

  5    removed from the home, it would have to be picked up by

  6    someone in their full gear, including their self-contained

  7    breathing apparatus, brought outside for decontamination.

  8    And then everything coming out of the house came to this

  9    table that you see here where agents and supervisors checked

 10    it in and then put them in the larger evidence bags.

 11               Here's money, for example, coming out the house.

 12               Agents worked late at this search warrant, but

 13    they also worked late based on investigation they learned

 14    from Ms. Tonge and Ms. Bustin.       So at Ms. Tonge's and

 15    Ms. Bustin's search warrant, as a part of that they

 16    interviewed both Ms. Tonge and Ms. Bustin, and they too

 17    confessed.   They told the agents that they were packaging

 18    and shipping these pills for Mr. Shamo; that Mr. Shamo was

 19    their boss; that he had been paying them to do it.          And they

 20    told the agents that they suspected an old coworker of

 21    theirs might also be involved, Mario Noble.

 22               So a couple agents went to where Mr. Noble worked,

 23    and they asked at the front desk for Mr. Noble so they could

 24    ask him some questions.      The front desk told Mr. Noble that

 25    there were some special agents there to see him.          So as he
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3827 Page 21 of 21
                                                                            62




  1    walked up, he erased Telegram, a communication app that he

  2    had used with Mr. Shamo.      He erased it off his phone.

  3                Once he sat down with the agents, he also

  4    confessed.    And later that night, he took two of the

  5    agents -- sat down with them, and took them online,

  6    specifically onto AlphaBay.      And because Mr. Noble had been

  7    doing customer service, he had shared access to some of the

  8    Pharma-Master pages, and he was able to take them on, show

  9    them what he had been working on, and allow them to take

 10    screen shots that night so they wouldn't lose some of the

 11    evidence.

 12                Ms. Tonge and Ms. Bustin, in their interviews,

 13    also told the agents one thing that gave them alarm.          They

 14    said that the prior night, because Mr. Gygi was gone, they

 15    took packages to blue collection boxes.        So a postal

 16    inspector raced out.     Ms. Tonge and Ms. Bustin, they had

 17    described the packages.      They would never put their return

 18    address on it.    They would always pick one randomly off a

 19    map, and then they would make up a name for the return

 20    address line.    This time the name were all the same.        So

 21    they told the agents what name to look for.         They told them

 22    there would be 20 packages, and the postal inspector was

 23    able to gather up all 20 before they got dispersed through

 24    the mail stream.

 25                Here's a couple of those last 20.       A box here,
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3828 Page 22 of 22
                                                                            62




  1    Fentanyl pills.    These like all the others, Fentanyl.

  2               Shortly after Mr. Shamo's arrest, his friend, Drew

  3    Crandall, living overseas, notified AlphaBay, said

  4    Pharma-Master has been compromised, it needs to be shut

  5    down.

  6               In January of 2017, the agents, working with now

  7    the cooperating co-conspirators and building their own

  8    investigation, had enough information to apply for and

  9    receive three search warrants to search places where Mr. Paz

 10    was known to sometimes reside.       That process of searching

 11    his residences began discussions between Mr. Paz and his

 12    attorney and these agents.      During that process, Mr. Paz

 13    turned over his drug money, in total, just under $800,000.

 14    He was getting paid a percentage for every pill that he

 15    pressed.

 16               In March of 2017, Mr. Shamo's parents turned over

 17    money he had left with his family, in total, just shy of an

 18    additional $430,000.

 19               Let's take a minute now and let's talk about

 20    Darknet markets.    You're going to hear specifically from a

 21    special agent who, because of his training and experience,

 22    is able to offer opinions that you can consider, and he's

 23    going to talk about Darknet markets in some detail.          I want

 24    to give you just the briefest overview of the evidence

 25    you're going to hear.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3829 Page 23 of 23
                                                                            62




  1               Darknet markets, that name, those were the

  2    websites where Mr. Shamo was selling his drugs.         The

  3    Darknet, it's a corner of the Internet.        You need a special

  4    browser, an Internet browser to get on there.         And then you

  5    also need a user name and password to enter the markets.

  6    This one that you see pictured here, this is the first sort

  7    of commonly known Darknet markets, Silk Road.         And Darknet

  8    markets have some characteristics in common.

  9               So, for example, you can see the categories on the

 10    left of the items that are for sale.        In the middle, that's

 11    going to be the featured product descriptions, so you can

 12    click on one of those and then make a purchase.         And then

 13    lastly, user information on top.

 14               When drugs were purchased on the Darknet, they

 15    were purchased with cryptocurrency.        The cryptocurrency

 16    you're going to hear about in this case is Bitcoin.

 17               This is AlphaBay, the market where Mr. Shamo was

 18    selling drugs in 2016.     You can see there the URL, the

 19    address.   It says AlphaBay.     Then there's some nonsense

 20    letters followed by dot onion.       When you think about the

 21    websites that you're going to on the Surface Web, you go to

 22    places that are dot com, or dot org, or maybe dot gov.           If

 23    you want to go to a Darknet market, you're flicking for dot

 24    onion websites and you need a specific browser to get there.

 25               Then on the left, these are the items for sale.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3830 Page 24 of 24
                                                                            62




  1    This screen shot is showing counterfeit items.         The next one

  2    here, these are drug items for sale.

  3               AlphaBay made money on every transaction on its

  4    site.   It took a cut.    AlphaBay had the incentive to try to

  5    increase the amount of transactions.        But on the Darknet,

  6    anonymity is key, and buyers feel hesitancy to buy online,

  7    to send their Bitcoins to a vendor who's anonymous for fear

  8    they won't get their product back.       So AlphaBay took some

  9    steps to try to alleviate some of the concern a potential

 10    buyer might have, and most of it had to do with feedback.

 11    In addition to feedback, AlphaBay worked as an escrow

 12    service.   But for now, let's talk just about the feedback.

 13               So a potential buyer could go on to AlphaBay and

 14    look at a seller.     They could see that -- for example, this

 15    seller, on the number one there, had 94 percent positive

 16    feedback over the last 12 months.

 17               Then if you're looking at the second arrow, number

 18    two, not only could you see the percent positive over the

 19    last 12 months, but they would break it down by one month,

 20    six months, 12 months so you could look for trends.

 21               Customers would rate sellers based on their -- now

 22    if you're looking at number three -- their stealth, and what

 23    they mean by stealth is how expertly a seller packages and

 24    ships drugs to avoid law enforcement detection.         Customers

 25    would also rate sellers based on the quality and the value.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3831 Page 25 of 25
                                                                            62




  1               And then lastly, number four, customers were

  2    allowed to leave comments, feedback.        So you can see the top

  3    row of feedback here at the bottom, that customer wrote

  4    perfect.   But it's not 2016.     It's 2013.

  5               Then if you look underneath that, that tells you

  6    what product they're referring to.       It's Microsoft Office.

  7    You can see the price there in dollars.        So they pay in

  8    Bitcoin, but AlphaBay would display it in dollars.          Six and

  9    a half dollars for Microsoft Office, and the date and time

 10    of the purchase.

 11               Even if a customer didn't want to type in

 12    comments, AlphaBay would still generate a row for every

 13    transaction.    So if you look at the bottom two rows, those

 14    customers left no comment, but AlphaBay generates a row.            So

 15    A potential buyer can see a seller's individual sales, how

 16    much they're selling, what people are paying, the date on

 17    which they're making sales.      That same date, it was there

 18    for Pharma-Master, and that's how the agents created this

 19    chart that shows his sales for 2016 that you saw earlier.

 20               This specifically is one of the 366 pages of

 21    feedback that the agents were able to capture for

 22    Mr. Shamo's drug sales.      So let's look at just a few of the

 23    comments his customers left.

 24               I heart you.    I really do.     Absolute perfection

 25    again.   Very discreet shipping.      No worry there.     Product
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3832 Page 26 of 26
                                                                            62




  1    looks great.    Some think they feel stronger than a regular

  2    30.   That's good, though.     Just be careful if you don't have

  3    a tolerance.    Thanks.   Be back soon.     Take care.    Enjoy

  4    life.    That customer, you can see below, they bought 100 of

  5    his Fentanyl pills, specifically the ones that he labeled

  6    M Box 30s.

  7                Here's another.    There is no one better to do

  8    business with.    I have done thousands, and this fact is

  9    indisputable.    Thank you, Pharma-Master.      This person bought

 10    another hundred of his Fentanyl pills.        Fantastic service.

 11    I'll be back.    This person bought ten pills.

 12                Agents and analysts took this feedback and the

 13    sales data, they added it all up, and from the feedback we

 14    were able to capture, Mr. Shamo sold $2.8 million worth of

 15    drugs in 2016, more than 800,000 pills and more than 5500

 16    transactions.

 17                Let's focus now just for a moment on his Fentanyl

 18    pills.    Just the Fentanyl sales.     Almost 3500 transactions,

 19    more than 450,000 Fentanyl pills, and he made $2.4 million.

 20                I mentioned he had the three ways of listing his

 21    Fentanyl pills.    So this breaks down by how he would

 22    describe them.    When he labeled it an M Box or an M Box 30,

 23    he had 871 orders, but those were larger orders.          So you

 24    look at the total quantity, 210,000 pills, and just from his

 25    M Boxes, he made a million dollars.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3833 Page 27 of 27
                                                                            62




  1               When he labeled it as a Roxy -- and you can see

  2    what a Roxy looks like.      It's that A215.    That's the other

  3    name you'll hear it described as.       When he labeled it as

  4    just a Roxy, more orders, 2200, but smaller orders.          So the

  5    total quantity, 242,000 pills, and he made 1.4 million just

  6    off of Roxys.

  7               Lastly, when he would put in his listing right in

  8    the title that his pills contained Fentanyl, 376 orders,

  9    just over 5,000 pills, just under $50,000.

 10               Let's talk about the evidence you're going to hear

 11    with respect to Mr. Shamo's oversight.        Mr. Shamo maintained

 12    oversight even as he hired employees, including on ordering

 13    ingredients and parts.     So here he's corresponding with his

 14    executive assistant, Ms. Gabby Noriega.        He said, hey, did

 15    you order the stearic acid from the link I sent you?          I

 16    needed it specifically from Pyro Chem Labs because they

 17    don't triple press stearic acid.       He gives her the link.

 18    This is the link I sent.      Did you order it from this, Pyro

 19    Chem Labs?   Then she clarifies, on to the next page, yeah,

 20    I'll get you the address in a sec, but this is urgent for

 21    the stearic acid.     I'm on a very large time crunch.       Gabby.

 22    And then she indicates that she's made the purchase.

 23               A little later in time he tells her, we need

 24    cornstarch, lactose -- he needs another bucket of lactose,

 25    and more stearic acid ASAP.      Get ordering.     Also half bag
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3834 Page 28 of 28
                                                                            62




  1    Ziploc bags.    The snack size ones.     Then she's catching up.

  2    Okay.   Some stearic acid should be coming like any day now.

  3    I ordered some not that long ago, I thought.         How much more

  4    cornstarch do you want?      Then he clarifies.     Focus on

  5    lactose first.    Order like 30 to 50 pounds.       Then more

  6    stearic acid.    We should be okay on cornstarch for a little

  7    bit.

  8               He asks her a little later did you order the

  9    filler from tabletpress.com?      It's a Canadian company where

 10    he's buying that microcrystalline cellulose.         And then he

 11    says, to TJ Edwards.     TJ Edwards is one of his package

 12    receivers, this man right here.       Then he says, also when's

 13    your payday?    And then to those two questions, Ms. Noriega

 14    responds not yet just because you said you would check to

 15    make sure that was right and I didn't hear back from you.

 16    And then when's payday?      It was Sunday.    Okay.   You've got

 17    to remind me of these things, LOL.       This month's been crazy.

 18               Mr. Shamo was also in charge in ordering parts,

 19    specifically the dies and the punches.        So he got an e-mail

 20    from a Chinese manufacturer.      They indicated they got his

 21    e-mail at the Aliexpress store, and asked if he was

 22    interested in good A215 or good Xanax replica dies.          And

 23    when they say dies, they mean not just the dies but the

 24    punches.   He responds, sounds good.       I would like both made.

 25    And then asks do you accept Bitcoin as payment?         I'd like
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3835 Page 29 of 29
                                                                            62




  1    you to get started immediately.       And then he clarifies the

  2    type of press that he's using.       They tell him that they

  3    cannot accept Bitcoin.     They only accept Western Union and

  4    wire transfers.    Then they confirm, do you want to order the

  5    A215 and the Xanax replica dies?       Then they talk about the

  6    specifications for his press.       They work it out.     He

  7    indicates that the MoneyGram will be coming in his name, but

  8    the dies, the punches, they need to be sent to Julian

  9    Mausia, this man right here, another one of his package

 10    receivers.

 11                There was evidence found in Mr. Shamo's devices

 12    about payments he made to China.       This is $2100.     That's for

 13    Fentanyl.    This is a money gram, $1400, going to China.

 14    Then $1100 also going to China.       Mr. Shamo maintained

 15    oversight on quality control, how much Fentanyl.          And how

 16    did Mr. Shamo figure out how much Fentanyl to put inside his

 17    pills?   Research.    This was found on his computer.

 18    Something he found online.      You can see there it's a

 19    comparison.    It compares, among other things, Oxycodone and

 20    Fentanyl.

 21                I mentioned that he was getting feedback from this

 22    local dealer.    Mr. Shamo had a note in one of his phones.

 23    The date on it is February of 2016, so right when he's in

 24    the process of creating and perfecting fake Fentanyl pills,

 25    and at the bottom of that note, this is what he wrote -- or
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3836 Page 30 of 30
                                                                            62




  1    copied.    Okay.   So these are the best so far.      They smoke

  2    perfect and they snort and slide.       Slide means how it is

  3    traced along aluminum foil as they smoke it, heat it up from

  4    the bottom.    The color being speckled won't fly so that

  5    needs to be fixed, but you already knew that.         My boy smoked

  6    two in a row and barely got high.       So a bit stronger is

  7    going to be a must, bro.       But all in all these are f'g close

  8    to being money in the bank, man.       You did it, bro.

  9               Mr. Shamo's oversight over quality control

 10    continued.    This is February of 2016.      Even by the end,

 11    November of 2016, they are still having issues with quality

 12    control.   Here's customer service, Mario Noble.        He says to

 13    Mr. Shamo, his boss, you hearing complaints on the recent

 14    batch?    Mr. Shamo:   No.    Batch of what?   I haven't read

 15    messages all week.     Noble:    Got a couple of complaints about

 16    the M Box 30s it looks like.       So Mr. Shamo says sticky them.

 17    That means flag it for me so it won't go down in the chute.

 18    I'll look at it tomorrow -- or I'll look at them tomorrow.

 19               Then a little later in November, the other

 20    customer service agent at this point, Drew Crandall, tells

 21    Mr. Shamo, getting complaints about the last batch of

 22    M Boxes from before vacation.       Are making people sick.      Only

 23    halfway through messages and I already have four people

 24    saying stuff about it.       Then he asked his boss, should I

 25    just tell them to suck it up or should we reship 50 percent?
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3837 Page 31 of 31
                                                                            62




  1    Mr. Shamo in response, partway through that first line,

  2    yeah, let's do a 50 percent reship for those guys.          Just

  3    give a pill count for reships that go out so I can keep

  4    track.

  5                Then he changes subjects.      He says, also Sean is

  6    my runner for mail.     So he's just revealed a member of his

  7    organization to another member.       I haven't heard a response

  8    from him since yesterday.      And the Sean he's referring to is

  9    Mr. Gygi.    If you still talk to him -- because Mr. Gygi and

 10    Mr. Crandall knew each other from before -- can you reach

 11    out and see if he's okay.      You look at the date on that

 12    message, November 18th.      The day prior was the date Mr. Gygi

 13    met the agents.    But the night of the 17th is when Mr. Gygi

 14    was thinking long and hard about what he should do.          The

 15    morning of the 18th is when he agreed to cooperate.          And the

 16    night of the 18th was the first night he took the agents

 17    along to collect the pills.

 18                Mr. Shamo kept oversight over customer service and

 19    order processing, even though he had people helping him.           He

 20    had to train them.     So, for example, Mario Noble asked, yo.

 21    Roxy just means replica Oxycodone, right?        Mr. Shamo:    Mine

 22    does, yeah.    I only sell replica.     Yeah.   But Roxys are an

 23    official drug, right?     The R just means it's a replica?         No.

 24    Roxy is a real drug made from real Oxycodone.         Mine are made

 25    with a substitute.     His substitute was Fentanyl.       Mr. Noble:
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3838 Page 32 of 32
                                                                            62




  1    Oh, okay.

  2                I mentioned that agents seized his electronic

  3    devices, including the iMac.      From the iMac, agents were

  4    able to find 1984 pages of orders.       So whomever was doing

  5    order processing, usually Mr. Shamo, sometimes Mr. Noble,

  6    they would take the orders that came in online and then they

  7    would create this document.      It's a text file.     You see the

  8    dotted dashed lines there?      Each block there is an

  9    individual sale.    So they would copy in the top four rows

 10    from AlphaBay.    And then a buyer, when they made a purchase,

 11    they would have to submit that name and address to which

 12    they wanted their pills sent.

 13                The order processor, Mr. Shamo usually, but

 14    Mr. Noble when he was helping, would copy that information

 15    from the buyer, put it in the text file, and this document,

 16    the daily order sheet, was encrypted and sent to Ms. Tonge

 17    and Ms. Bustin, and they would work right off this document

 18    to package the pills.     So they knew what a buyer wanted, how

 19    much they wanted, what address they wanted it sent to, and

 20    then those pills would go out in the mail.         From these 1984

 21    pages that were taken from Mr. Shamo's computer, the agents

 22    were able to plot by ZIP code everywhere he sent drugs in

 23    2016.   Every dot on that map is a ZIP code to which

 24    Mr. Shamo and his employees sent drugs.

 25                Let's talk about money.     I mentioned that
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3839 Page 33 of 33
                                                                            62




  1    Mr. Shamo spent a fair amount of effort converting his

  2    Bitcoin, his drug money, into cash that he could spend and

  3    use.    Here's one of many examples you're going to see

  4    through the trial.     So at the top, that's Mr. Shamo in the

  5    blue.    He says, hey, it's airshamo4 from localbitcoins.

  6    Airshamo4 is his user name.      Localbitcoins is a website that

  7    brings together people who want to buy and people who want

  8    to sell Bitcoin.    Mr. Shamo says, I'm finally feeling above

  9    water.    Can you meet around 5:30?     His potential buyer says,

 10    yeah, I can do that.     Give me an address.     Mr. Shamo,

 11    Starbucks, Cottonwood Heights.       Buyer says that sounds fine.

 12    I'll be there.    They both get caught in traffic.

 13                Now moving to the next page, the buyer arrives and

 14    then Mr. Shamo arrives.      He says, sorry, traffic got me too.

 15    Buyer says, all good.     I'm on to the couch.      Mr. Shamo:

 16    Thanks.    I'm getting off the freeway now.      See you in a

 17    second.    That next message, the one that starts 1HBE2Q,

 18    that's the buyer sending Mr. Shamo the wallet address he

 19    wants Mr. Shamo to send Bitcoins to.

 20                And all apparently goes well because eight days

 21    later, the buyer reaches out to him again and says, hey, do

 22    you have any more coins to sell.       He's looking to buy around

 23    5,000.    Mr. Shamo says, I'm getting my car fixed.        If not

 24    tonight, tomorrow.     Then the buyer says, okay.      Just let me

 25    know when you find out.      How much do you have available you
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3840 Page 34 of 34
                                                                            62




  1    could sell?    Mr. Shamo writes, 15k.      I'll have more next

  2    week.

  3               All of Mr. Shamo's efforts to cash out Bitcoin

  4    resulted in $1.2 million in his house.        It's all drug money.

  5    There's Mr. Shamo's 1.2 million as it's going into the bank

  6    at Loomis.    The $430,000 turned over by his parents, all

  7    drug money.    Mr. Paz's cash, $800,000, all money.

  8               Mr. Shamo purchased this truck from his friend, an

  9    early investor, Miles Penrose.       Paid for it with drug money.

 10    He bought silver bars.     You can see right there.       He used

 11    Bitcoin to pay for it.     He didn't even have to exchange it

 12    into cash in order to buy his silver bars.

 13               Mr. Shamo was still holding cryptocurrency,

 14    specifically Bitcoin, at the time of his arrest.          To date --

 15    and it's not finished, but to date the agents have

 16    identified and seized from Mr. Shamo's accounts 535 Bitcoin.

 17    On the date of his arrest, a Bitcoin was worth almost $750.

 18               Mr. Shamo had to pay wages to his employees.

 19    Sometimes for Mr. Crandall, he would pay him in Bitcoins

 20    since Mr. Crandall was overseas.       But he got late on one of

 21    his payments and so Shamo went himself to deposit money into

 22    Mr. Crandall's account.      That's what you see on the picture

 23    there.   He put $2700 in Mr. Crandall's account as payment

 24    for his work doing customer service.

 25               Then Mr. Shamo used this drug money to support his
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3841 Page 35 of 35
                                                                            62




  1    lifestyle.    He, with friends, bought a boat and a truck to

  2    pull it.    Here he is in his boat on the lake with Paz.         He

  3    bought an 88-inch TV, a $2,000 bedroom set.         Took trips.

  4    This is a beach in California.       He also went to spring break

  5    in Mexico.    Multiple trips to Las Vegas.      On a cruise with

  6    Luke Paz and their girlfriends.       Fine wine.    Port calls.

  7    All of it was paid for with drug money.

  8                You're going to hear from several of the people on

  9    the screen.    It's anticipated that you're going to hear from

 10    Mario Noble.    He's going to tell you that Mr. Shamo hired

 11    him, that Mr. Shamo trained him, that Mr. Shamo paid him,

 12    that Mr. Shamo was his boss.

 13                You're going to hear from Luke Paz.       He's going to

 14    tell you Mr. Shamo hired him.       Mr. Shamo and Mr. Crandall

 15    trained him, that the two of them worked together, that they

 16    had an agreement that he would get a percentage of the price

 17    for each pill that he pressed, and that Mr. Shamo paid him,

 18    and Mr. Shamo was his boss.

 19                You're going to hear from Drew Crandall.        He's

 20    going to tell you in the beginning he was a junior partner

 21    with Mr. Shamo, but Mr. Shamo bought him out.         And when he

 22    came back, he was an employee doing customer service online

 23    overseas.    Mr. Shamo paid him.     Mr. Shamo was the final

 24    decision maker.

 25                You're going to hear Ms. Tonge and Ms. Bustin.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3842 Page 36 of 36
                                                                            62




  1    They're going to tell you that they were initially recruited

  2    by Mr. Shamo and Mr. Crandall.       And once Mr. Crandall left,

  3    Mr. Shamo was the boss.      Mr. Shamo paid them.     Mr. Shamo

  4    either brought them postage or sent them Bitcoins so they

  5    could purchase postage.      Mr. Shamo kept them supplied with

  6    drugs.    And Mr. Shamo and his employees would give them the

  7    daily order sheets so they would know to whom to send the

  8    drugs.

  9                You're going to hear from Mr. Gygi.       He was a

 10    package receiver before.      After his friend, Mr. Crandall, is

 11    gone, Mr. Shamo approaches him about taking a larger role.

 12    He recruits him to be the runner, the courier.         Mr. Shamo

 13    paid him.    Mr. Shamo had plans with Mr. Gygi to expand his

 14    role in the organization.

 15                It's also anticipated you'll hear from Mr. Jensen.

 16    Mr. Jensen's package was the first package caught, the

 17    package that led to Mr. Shamo's arrest.        He's going to tell

 18    you that Mr. Shamo paid him.      He considered Mr. Shamo a

 19    friend.    And he received those packages on Mr. Shamo's

 20    behalf.

 21                You'll also hear from this woman, Jessica Gleave.

 22    She's going to talk about the packages that she and her

 23    boyfriend, next to her, Julian Mausia, received at

 24    Mr. Shamo's request, on his behalf, and that he paid them

 25    two, $300 per package for every package they received.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3843 Page 37 of 37
                                                                            62




  1                You saw our witness list Friday.       The only thing I

  2    wanted to mention about it is we have some witnesses who,

  3    because of their education, their training, or experience,

  4    they have the ability to offer an opinion that you can

  5    consider.    For example, this special agent will be the one

  6    that talks about the Darknet, and cryptocurrency, and the

  7    types of encryption they used.       These other witnesses

  8    underlined in yellow, they're similar.

  9                You're going to hear from computer forensic

 10    witnesses, scientists and chemists from two different

 11    laboratories.    They're going to talk about what was in the

 12    pills and how good the fakes were.

 13                You're going to hear from a doctor, a Ph.D, with

 14    the Food and Drug Administration who was part of the team

 15    that reviewed Fentanyl for use in hospital settings, and

 16    he'll talk about some of the dangers of Fentanyl.

 17                Then lastly, the three on the right.       Dr. Thomas

 18    Rogers performed an autopsy.      Bill Posey, below him, helped

 19    Dr. Rogers with toxicology analysis.        Then lastly,

 20    Dr. Stacey Hail, who is a forensic pathologist, and I'll

 21    talk about her in just a moment.

 22                Let's finish now talking about Mr. Shamo's

 23    customers.    Mr. Shamo sold his drugs to other drug dealers.

 24    This is a sale for 5,000 of his Fentanyl pills.         That

 25    purchaser is a drug dealer.      Another 5,000, 10,000, 20,000
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3844 Page 38 of 38
                                                                            62




  1    of the counterfeits.

  2                Let's talk about one drug dealer in particular

  3    that you're going to hear more about in this case.          His user

  4    name was Trustworthy Money.      Here's 10,000 pills to

  5    Trustworthy Money.     Another 10,000 sold by Mr. Shamo to

  6    Trustworthy Money.     Another 10,000.     Here's Trustworthy

  7    Money and the daily order sheets that we've talked about

  8    that, when Mr. Noble was helping, Mr. Noble would create.

  9    Trustworthy Money sends a message, it says, fifth row down,

 10    I messaged you about getting 2k extra pills if I buy this.

 11    So 12,000 total.    You said to let you know so you could let

 12    the shipping team know.      Please let them know.     Thank you.

 13    I really appreciate it.      As soon as it's marked ship, I'll

 14    partially release 35k.     By that he means the money is in

 15    escrow at AlphaBay and he'll release it to Mr. Shamo as soon

 16    as Mr. Shamo marks that it shipped.

 17                Mr. Trustworthy Money gives Pharma-Master the name

 18    and address he wants his pills shipped to.         He also uses a

 19    package receiver.     So that's not him.     That's a real person,

 20    Alivia Luckcuck, and then her address.        Trustworthy Money is

 21    this guy.    His real him is Jared Gillespie.       He's fanned out

 22    $100 bills in front of him.      He has a money counter.      You'll

 23    notice on the table over here, Mr. Shamo has two money

 24    counters.

 25                Mr. Shamo sold to drug dealers.      He also sold to
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3845 Page 39 of 39
                                                                            62




  1    drug users, and there's one I want to talk about now.

  2               These two orders go to the same user.        So when

  3    you're looking at this, you can see the sales information

  4    from AlphaBay.    Second row, all the way to the right, it

  5    says to and then T-W-A-D.      That's the user, Twad.      You can

  6    see the name and address that that user wanted the pills

  7    sent to.   And then for that top order, that's ten pills.

  8    The listing is for one pill.      The quantity is ten.      So

  9    that's ten pills.     It's going to 3 Midvale Drive in Daly

 10    City, California.     Daly City is a suburb of San Francisco.

 11               The second order, on the bottom now, is in June,

 12    specifically June 6th, 2016.      Same user, same shipping

 13    address, also for ten pills.      The package that contained

 14    those ten pills was tracked.      So postal inspectors were able

 15    to tell that it shipped out of Utah on June 9th, 2016, and

 16    arrived at 3 Midvale Drive in Daly City on June 11th.

 17               That address, 3 Midvale Drive, had these three

 18    people at it.    The guy in the middle, that's Gregory Lee,

 19    whose name was on the shipping request.        To his left, with

 20    the funny sunglasses, that's Ruslan Kluyev, but his friends

 21    called him Russ.    And then the woman here, Ms. Tori Grace,

 22    is Greg Lee's girlfriend.      Mr. Lee, Russ, they're roommates.

 23    Ms. Grace sometimes would spend the night there with them.

 24               I mentioned that the package arrived June 11th,

 25    2016.   The very next night, June 12th, Greg and Tori arrived
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3846 Page 40 of 40
                                                                            62




  1    home after eating dinner with Greg's family, and they found

  2    Russ -- he was there to meet them.       It was clear he had been

  3    drinking.    They went into his bedroom to hang out with him

  4    for a little while.     They watched Russ, their friend, crush

  5    up two blue pills that they knew were Fentanyl.         He crushed

  6    them up with that battery.      They watched Russ, their friend,

  7    snort those pills using the rolled up sticky note you see

  8    there.   They watched as their friend Russ started exhibiting

  9    the effects almost immediately.       Russ laid down on his bed

 10    and asked Tori and Greg to check on him that night.

 11                Fentanyl is an opioid.     Opioids are central

 12    nervous system depressants.      Taken too much and you shut

 13    down.

 14                Greg and Tori were nervous.      They checked on him

 15    several times that night before they went to bed.          The last

 16    time going in to check on him, Tori watched as her

 17    boyfriend, Greg, rolled their friend into the recovery

 18    position.    It's a way to arrange a body so that if someone

 19    unconscious were to vomit, they won't asphyxiate.

 20                Tori thought that Russ's breathing was slowing,

 21    but Greg dismissed it.     The following morning, Tori got up

 22    and went to work.     It was while she was at work that she

 23    found out that Russ was dead.

 24                Police were called.     An investigation began.

 25    Here's his bed.    You can see his glasses.      There's Russ.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3847 Page 41 of 41
                                                                            62




  1    You can see the desk behind him where the battery and the

  2    sticky note were.     Then just inside of that door, there's a

  3    garbage can.    On the top of that garbage can, there's a

  4    priority mail envelope, and that envelope came from Utah.

  5                An autopsy was ordered.     A toxicology analysis was

  6    part of that autopsy.     They looked at what was in his blood

  7    at the time of Russ's death.      They found that he had alcohol

  8    on board.    He was negative for cocaine, but he did have

  9    cocaine metabolite and a cocaine cutting agent.         But then at

 10    the bottom there, you see that he had Fentanyl in his

 11    system.

 12                Dr. Stacey Hail, she's a medical doctor.        She

 13    still works in an ER.     She teaches, and then she studies how

 14    drugs and classes of drugs affect the human body in an

 15    overdose.    She reviewed Russ's case.      She's going to take

 16    the stand in this trial and she's going to tell you that

 17    having reviewed it, and based on her training and

 18    experience, and her education, it's her opinion that

 19    Fentanyl was the but for cause of Russ's death.         Meaning but

 20    for the fact that he ingested the Fentanyl that night, he

 21    wouldn't have died.

 22                Death, drugs, and money, that's why we're here.

 23                At the conclusion of this case, after you've heard

 24    all of this evidence and much more, one of my partners on

 25    the case, Mr. Vernon Stejskal here, is going to stand up in
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3848 Page 42 of 42
                                                                            62




  1    front of you and ask you to return a verdict of guilty to

  2    every count.    That will be the only verdict that's

  3    consistent with the evidence.

  4                Thank you.

  5                THE COURT:   Thank you, Mr. Gadd.

  6                Want to take a break before your opening?

  7                MR. SKORDAS:   It's up to you, Your Honor.       I'm

  8    ready to go.    I won't be quite as long, but a break might be

  9    in order.

 10                THE COURT:   We'll be in recess until five or ten

 11    after ten.

 12                (Jury excused)

 13                (Recess)

 14                THE COURT:   Ready to proceed?

 15                MR. SKORDAS:   Yes, Your Honor.

 16                THE COURT:   Get the jury.

 17                (Jury present)

 18                THE COURT:   Mr. Skordas, you may proceed with your

 19    opening statement.

 20                MR. SKORDAS:   Thank you, Your Honor.

 21                Counsel, members of the jury, before I start, I

 22    want to introduce someone that you missed on Friday, and

 23    that's our colleague Daryl Sam, who did get his daughter

 24    successfully married off, and he'll be here for the balance

 25    of the trial.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3849 Page 43 of 43
                                                                            62




  1               I'm going to start by saying something that I

  2    don't recall saying in opening statements before and it

  3    might come as a surprise to some of you, but one of the

  4    parting remarks that counsel made in his opening is that in

  5    a couple of weeks, one of his associates is going to get up

  6    and ask you to find Aaron Shamo guilty on these counts.

  7    We're going to agree with some of that.        We think that the

  8    evidence will support that he's guilty of some of these

  9    counts.   That might come as a surprise.

 10               We think the evidence will support the notion that

 11    he's guilty of many of these counts, that he was involved in

 12    this drug ring, that he participated in the drug ring, and

 13    that he should be held responsible for that.         And he has

 14    maintained that from the beginning and will maintain that in

 15    the next three weeks before you.

 16               There are a couple of things -- Elizabeth, if you

 17    could help me.    You're ahead of me -- that we don't agree

 18    with in terms of the government, and when you listen to the

 19    evidence, listen closely to some of these concepts because

 20    Aaron Shamo did not cause the death or create the death of

 21    another individual.     Aaron Shamo is not, as the evidence

 22    will show, the kingpin of a large drug organization.          And

 23    the government will no doubt prance this diagram in front of

 24    you repeatedly during this trial, and we invite that.          In

 25    fact, we would ask that you look at it in a little bit
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3850 Page 44 of 44
                                                                            62




  1    different way.

  2               Count 1 of the information that you'll hear is the

  3    one that is sort of a kingpin count, if you will.          It

  4    requires that the government show that he was a leader, that

  5    he was a mastermind, that he was the kingpin, if you will,

  6    of this organization.     And that's what they intend to prove

  7    is, based on their understanding of what's going on, that

  8    he's at the top and all these other folks down here at the

  9    bottom, they work for Aaron Shamo.

 10               Counsel has indicated that he's going to call some

 11    witnesses, most importantly, and maybe in the beginning

 12    here, Drew Crandall.     When you hear from Drew Crandall, here

 13    are some things you're going to learn, that he worked for

 14    eBay customer service in IT; that he has a background in

 15    computers and IT support; that he studied mechanical

 16    engineering in college; that at the time after that he was

 17    in debt to the tune of $45,000; and that while he was in

 18    college, he began selling his own prescription medication to

 19    individuals, his own Adderall; that he got involved in the

 20    manufacturing and shipping of pills to make money to pay for

 21    his significant college debt.

 22               He helped establish the online marketplace and

 23    shipping procedures for this group.        He's knowledgeable in

 24    Bitcoin.   He took the proceeds from drug sales and traveled

 25    around the world with his fiancee.       He trained Luke Paz to
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3851 Page 45 of 45
                                                                            62




  1    act as his replacement, and that he was still receiving,

  2    accessing, and using proceeds from this as late as

  3    April 2017.    He was arrested in May 2017 when he returned to

  4    get married in Hawaii.     What's the significance of that?

  5               The significance of that, members of the jury, as

  6    you'll hear, is that in April of 2017, Aaron Shamo had been

  7    in jail for five months.      He's there today.     He'll sleep

  8    there tonight.    And he's been there every day since

  9    November 22nd of 2016, every day.

 10               When Drew Crandall is receiving access and using

 11    proceeds in April 2017, the evidence will show he certainly

 12    wasn't doing it with the direction, or help, or assistance

 13    of Aaron Shamo because he was in the Weber County Jail.

 14    When Drew Crandall was arrested in May of 2017 to get

 15    married in Hawaii, Aaron Shamo was in the Weber County Jail,

 16    not directing anything or anyone.

 17               Drew Crandall, you will learn, members of the

 18    jury, through his own testimony and those of the agents,

 19    lied when he was interviewed by the agents about his

 20    involvement, lied about his assets to the investigators when

 21    he was questioned about what he had done here.

 22               You'll learn a concept that you've probably all

 23    understood since high school, which is plea bargaining.

 24    You'll learn that Mr. Crandall plea bargained this case.           He

 25    pled guilty to three counts.      Aaron Shamo, as you know,
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3852 Page 46 of 46
                                                                            62




  1    members of the jury, is charged with 13.        He pled to

  2    conspiracy to distribute Fentanyl, Alprazolam, and

  3    conspiracy to commit money laundering.        He was never charged

  4    with the continuing criminal enterprise count, the kingpin

  5    count, if you will.     And he agreed to plead guilty in order

  6    to avoid any risk of being convicted of a death resulting

  7    count.

  8               Counsel told you that you'll be hearing from Luke

  9    Paz, and that's true, and here's what you'll learn from Luke

 10    Paz.   He became friends with Aaron Shamo through a group

 11    called Mario Kart 64, and you'll learn what that means, and

 12    basically replaced Drew Crandall while he was traipsing

 13    around the world with his girlfriend.        He ordered and

 14    received a pill press.     He developed the formula for making

 15    the Fentanyl based drugs and kept it in his possession.           He

 16    kept a ledger of his manufacturing of Fentanyl based drugs,

 17    and paid himself with Bitcoin and currency exchanges -- the

 18    organized Bitcoin currency exchanges.        He was arrested in

 19    April of 2018, after Aaron Shamo had been in custody for

 20    over 18 months.    Luke Paz will come in probably through that

 21    back door.   He hasn't spent a day in jail.        And when he was

 22    arrested, he had $800,000 in cash and 32 and change in

 23    Bitcoin.

 24               You'll learn that Luke Paz, when he was questioned

 25    by investigators for the government, lied about his
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3853 Page 47 of 47
                                                                            62




  1    involvement, lied about his assets.        And he was allowed to

  2    plead guilty to two counts of knowing and intentional

  3    adulteration of drugs while held for sale, Fentanyl, and

  4    conspiracy to commit laundering.       He was never charged with

  5    a serious death resulting count.       He was never charged with

  6    a serious kingpin count, the continuing criminal enterprise.

  7               Counsel told you that you'll hear from Sean Gygi.

  8    That's true.    But here's what you'll hear about and from

  9    Sean Gygi, that he worked at eBay with Drew Crandall and

 10    Aaron.   He delivered pills to Ms. Bustin and Ms. Tonge --

 11    who we'll talk about in just a minute -- for packaging.           He

 12    received pills from those same two women and delivered them

 13    to different addresses.      He received at least $4,000 a

 14    month, had packages and drug manufacturing materials

 15    delivered to his home on multiple occasions, and made $300

 16    for every package delivered to his home.

 17               What did he do?     He lied to the investigators when

 18    he was questioned.     He lied about his assets.      He lied about

 19    his involvement in this enterprise.        And he was allowed to

 20    plead guilty.    He was allowed to plea bargain to conspiracy

 21    to distribute Fentanyl, Alprazolam, aiding and abetting in

 22    the importation of a controlled substance, and the use of

 23    mail in furtherance of a drug offense.        He too, like

 24    everyone else, except Aaron Shamo, was never charged with a

 25    continuing criminal enterprise count, and he agreed to plead
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3854 Page 48 of 48
                                                                            62




  1    guilty to avoid the death resulting count.

  2                Counsel told you about Mario Noble, who you will

  3    also hear from.    Mario Noble has got a little more

  4    involvement in some things.      He's trying to run his own

  5    business.    He became involved in this organization through

  6    Drew Crandall's friend, Sasha.       He opened his own

  7    marketplace on the Internet to sell candy laced with drugs.

  8    He tried online marketplace of his own, was making at least

  9    $3,000 a month in salary, had access to the entire

 10    Pharma-Master page on AlphaBay, and dealt with every aspect

 11    of customer service.     He had the ability to manage money

 12    coming and going from the Pharma-Master account and dictated

 13    his own hours and schedule.

 14                What did he get?    Conspiracy to distribute

 15    Fentanyl and Alprazolam.      Never charged as a leader,

 16    organizer.    Agreed to plead guilty to avoid the death

 17    resulting count.

 18                Ms. Bustin and Ms. Tonge, you've heard quite a bit

 19    about them.    You'll see them all on this chart here.        I

 20    won't go through every one.      They also worked at eBay with

 21    Drew and Aaron.    They packaged and prepared drugs for

 22    shipping.    They made their own schedule.      They requested

 23    more jobs and money on multiple occasions.         They made at

 24    least $2,000 a month and upwards of $3500 a month for

 25    packaging.    And when they were arrested, members of the
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3855 Page 49 of 49
                                                                            62




  1    jury, they had 75,000 Fentanyl pills in their home.

  2               They were questioned by investigators in this

  3    case.   They lied about their involvement.       They lied about

  4    their assets.    They pled guilty to conspiracy to distribute

  5    Fentanyl, Alprazolam, possession of Fentanyl with the intent

  6    to distribute, the use of the U.S. Mail in furtherance of a

  7    drug trafficking offense, and conspiracy to commit money

  8    laundering.    Again, they were never charged with a

  9    continuing criminal enterprise, leadership role, and they

 10    agreed to plead guilty to avoid the death resulting count.

 11               Jessica Gleave, offered full immunity from any

 12    future prosecution.     Nothing.    Pled guilty to nothing.

 13               Ryan Jensen, who you'll hear from today, offered

 14    full immunity from any future prosecution.

 15               Although in a criminal case in America the

 16    defendant doesn't need to testify, you'll hear from Aaron.

 17    You'll hear from his family members.        And you'll hear from

 18    his -- by family members, I mean his mother and sister.           And

 19    here's what you'll learn about Aaron, that he's learning

 20    disabled, he had severe ADHD, and a processing disorder;

 21    that he was roommates after college with Drew Crandall; and

 22    that in college, like Drew Crandall, he began selling his

 23    own prescription medication along with Drew.

 24               He was arrested November 22nd, 2016, awaiting

 25    trial, and has been sitting in jail since that day.          Longer
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3856 Page 50 of 50
                                                                            62




  1    than all the other people in this chart combined.

  2                When he gets arrested, there are no Fentanyl pills

  3    found in his home.     Never in possession of the formula for

  4    possessing Fentanyl.     Importantly, members of the jury, he

  5    was never interviewed by the investigators in this case.

  6    And as you'll see, some of the co-defendants and some of the

  7    people that will be testifying -- as you'll hear I should

  8    say, will tell you that Aaron just wasn't capable of

  9    organizing or running an organization like this without

 10    substantial assistance.

 11                The government, early on in this case, November of

 12    2016, created this chart.      It's about a three-year-old

 13    chart.    And their argument this morning is that Aaron

 14    founded and led this organization.       Their argument this

 15    morning and their statements are that he was the leader of

 16    this.    And counsel said Aaron did this, and Aaron directed

 17    that, and Aaron did this, and Aaron was in charge of that.

 18    But when you listen to the evidence, you'll find that that's

 19    not the case.    When you hear the witnesses testify, you will

 20    see that that was not the case.

 21                It's an unfortunate role that we play as defense

 22    attorneys in a criminal case because we have to wait until

 23    the government puts his case on.       That's just the way it

 24    works in America.     It's worked for hundreds of years.       But I

 25    would ask you, members of the jury, to withhold judgment on
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3857 Page 51 of 51
                                                                            62




  1    this case until you've heard the entirety of the evidence.

  2    I would ask you to not form an opinion today or tomorrow,

  3    certainly not based on the statements of counsel this

  4    morning, but to wait until you hear all the evidence.

  5               Wait until you see the big picture -- which has

  6    now disappeared -- because what you'll see is that Luke Paz

  7    pressed 480,000 Fentanyl pills.       He has not spent any time

  8    in jail.   He cut a plea deal.

  9               Drew Crandall, still benefiting from drug sales,

 10    as I indicated, as late as April 2017, he cut a plea deal.

 11               Mario Noble started his own drug marketplace,

 12    which failed.    He's not in jail.     He cut a deal.

 13               Ms. Tonge, found with nearly 75,000 Fentanyl

 14    pills, she's not in jail.      She cut a deal, as did her

 15    associate, Ms. Bustin -- by the way, I have their names

 16    backwards here -- who also cut a deal.        Never went to jail.

 17               Mr. Gygi derives substantial income from

 18    importation and shipment of illegal narcotics.         Not in jail.

 19    Middleman between multiple parties.        Not in jail.    Cut a

 20    plea deal.

 21               The only person on trial, members of the jury, is

 22    Aaron Shamo.    The only person who is left standing, if you

 23    will, is Aaron Shamo.     The reason for that, as you'll see,

 24    is that the government decided early on that he was somehow

 25    the kingpin of this organization and his head needed to
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3858 Page 52 of 52
                                                                            62




  1    roll.

  2                We've told you earlier -- I've told you earlier

  3    that he will admit to his conduct here, and we will agree

  4    with Mr. Stejskal in our closing that he should be convicted

  5    of some of these counts, but not all of them.         He didn't

  6    have a plea deal, and he was never interviewed by

  7    investigators.

  8                This is a trial that is scheduled to go about

  9    three or four weeks.     I believe it could be a little bit

 10    less than that.    I don't think this trial is going to take

 11    that long.    I say that because Aaron's owning what he did.

 12    And we can flash all the styrofoam or plastic containers in

 13    front of you all and bounce them around, but we know what

 14    they are.    We'll agree to what they are, and we'll agree to

 15    how they came into possession of certain individuals.          We'll

 16    agree how the government got these.        But the evidence will

 17    not establish, members of the jury, that Aaron Shamo caused

 18    the death of another or that he was the organizer, leader,

 19    mastermind of this organization.       Just the opposite.

 20                So please keep an open mind.      Keep from forming a

 21    final opinion until you hear all the evidence, and that

 22    might be a couple of weeks from now.        Remember the

 23    instructions that the Judge has given, instructions about

 24    the presumption of innocence, because in America, in 2019,

 25    an accused is presumed innocent until the government
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3859 Page 53 of 53
                                                                            62




  1    establishes proof beyond a reasonable doubt to each and

  2    every element of the offense.

  3               Keep in mind, as the Judge instructed you this

  4    morning and will instruct you again, that the government

  5    carries the burden of proof.      The defense doesn't have to

  6    put on any evidence at all, even though we will.          Keep in

  7    mind, members of the jury, as the Judge has instructed you

  8    and will continue to instruct you, that unless and until you

  9    find beyond a reasonable doubt each and every element of

 10    those offenses, you have a legal and moral obligation to

 11    find Aaron Shamo not guilty.      And at the end of the day, at

 12    the end of the month, at the end of the trial, that's what

 13    the evidence will show.

 14               Thank you.

 15               (Whereupon, proceedings not transcribed.)

 16               THE COURT:    Did you say you had something you

 17    needed to take up?

 18               MR. GADD:    Two things.

 19               THE COURT:    Do we need to wait for the clerk to

 20    get back in?

 21               MR. GADD:    Probably.

 22               THE COURT:    All right.

 23               There she is.

 24               Go ahead.

 25               MR. GADD:    I think the Court probably caught this
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3860 Page 54 of 54
                                                                            62




  1    as opening statements were going on.        The Court ruled on a

  2    motion in limine back in May where we had asked the Court to

  3    preclude the defense from charging comparisons between

  4    co-defendants.    Much of the defense's opening statement was

  5    drawing those comparisons that the Court ruled --

  6               THE COURT:    I'm looking at your chart, the chart

  7    in your exhibit.    Do you know what I'm talking about?

  8               MR. GADD:    Of the people?

  9               THE COURT:    No.   No.   I'm looking at the chart

 10    about permitted and not permitted.

 11               MR. GADD:    Yes, sir.    Yes, sir.   The filed one.

 12               THE COURT:    Charges permitted.      Charges and

 13    potential sentences for testifying co-conspirators?

 14               MR. GADD:    Yes, sir.

 15               THE COURT:    That's permitted.     What are you saying

 16    he shouldn't have done?

 17               MR. GADD:    The comparison is pointing out that

 18    they're not charged with other crimes, specifically CCE or

 19    the death resulting offense, Count 1 and Count 6.

 20               THE COURT:    Mr. Skordas.

 21               MR. SKORDAS:    We're happy to ask each one of them

 22    that individually if that's what it's going to take.

 23               THE COURT:    I'm not sure I understand what you're

 24    complaining about.

 25               MR. GADD:    Yes, sir.    I'll try to be more clear.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3861 Page 55 of 55
                                                                            62




  1               The Court ruled that they could not draw

  2    comparisons between Mr. Shamo, who's charged in Count 1 and

  3    Count 6, and the other defendants who are not.         But since

  4    those comparisons have been drawn, I'm asking for a curative

  5    instruction.    I think we can model it similar to the

  6    instruction that we've proposed in the final jury

  7    instructions or we tell the jurors now so that they're not

  8    laboring under a false impression for the next four weeks,

  9    that it's not their role to decide or judge the charges and

 10    that they should not draw those comparisons.

 11               THE COURT:    Mr. Skordas.

 12               MR. SKORDAS:    Your Honor, our understanding was

 13    that it was really sentencing comparisons that we were

 14    staying away from, but the government can argue whatever it

 15    wants.   We were just going through what we believe the facts

 16    will be when these individuals each testify.         We're entitled

 17    to do that.    I'd be happy to bring all their attorneys in,

 18    if that's what you want, but there was a very clear intent

 19    by everybody to avoid those two counts.

 20               MR. GADD:    The problem there is none of them faced

 21    the CCE count.    That's why drawing the comparison is

 22    impermissible.

 23               THE COURT:    Well, but you can point that out,

 24    can't you, on the testimony?

 25               MR. GADD:    Yes, certainly.     My request is that we
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3862 Page 56 of 56
                                                                            62




  1    have a short instruction now so that the jury doesn't think

  2    for the next four weeks, or when we get to the individual

  3    cooperators' testimony, that part of what they are supposed

  4    to consider is the grand jury's decision on whom to charge

  5    with what or to draw comparisons between co-defendants and

  6    what charges the grand jury indicted them on.

  7               THE COURT:    In your own chart -- do you know what

  8    I'm talking about?     In your own brief --

  9               MR. GADD:    Yes, sir.

 10               THE COURT:    -- you say permitted, and I agreed

 11    with this, charges and potential sentences for testifying

 12    co-conspirators for purposes of impeachment.

 13               MR. GADD:    Yes, sir.

 14               THE COURT:    Isn't that what he did?      Isn't that

 15    permitted?

 16               MR. GADD:    Yes, that is permitted.      It's the

 17    inverse that's not permitted.

 18               THE COURT:    Which is what?

 19               MR. GADD:    Pointing out what they were not charged

 20    with and then drawing comparisons.

 21               THE COURT:    I don't know that I ruled on that.

 22               MR. GADD:    I would be happy to take a minute this

 23    afternoon when court is adjourned and try to put what I'm

 24    trying to say in writing and hopefully make it more clear.

 25               THE COURT:    All right.    So far I don't think he
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3863 Page 57 of 57
                                                                            62




  1    has violated this chart.      If I'm wrong, then I'm sure you'll

  2    point it out.

  3               MR. GADD:    The second issue I'd like to address is

  4    his contention that the defendant was never interviewed.           So

  5    I've instructed our agents not to bring up that when they

  6    tried to interview the defendant, he invoked his right to

  7    remain silent.    But by making it a point of contention that

  8    was never interviewed, unlike the other co-defendants, we

  9    think the jurors need to hear the full story, that he was

 10    given the opportunity and refused.

 11               THE COURT:    They do, don't they, if they tried to

 12    interview him and he invoked his right?

 13               You said he was never interviewed?

 14               MR. SKORDAS:    Correct.

 15               THE COURT:    They say they tried to interview him

 16    and couldn't.

 17               MR. SKORDAS:    Early on.    And we tried for three

 18    years to interview with them and they wouldn't.         So if they

 19    want to open that up, let's open the whole thing up.          We

 20    have been begging them for an interview for three years,

 21    Your Honor.    I'll testify to that.

 22               THE COURT:    Mr. Gadd.

 23               MR. GADD:    We'll have a hard time with an attorney

 24    as a witness.

 25               THE COURT:    Yes.   Yeah.   We're not going to do
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3864 Page 58 of 58
                                                                            62




  1    that.

  2               MR. GADD:    I see it as an open door, but because

  3    it's a sensitive issue dealing with Fifth Amendment rights,

  4    I wanted to bring it up first with the Court to make sure

  5    that we were okay to briefly ask our agents if they asked to

  6    interview him and if he refused.       And we'll try to phrase it

  7    such that we don't implicate his constitutional rights.

  8    We'll just indicate that he chose not to.

  9               THE COURT:    If you do that, Mr. Skordas is going

 10    to want to bring up through -- I guess Mr. Shamo, if he

 11    testifies, and it sounds like he's going to --

 12               MR. GADD:    If Mr. Shamo has personal knowledge,

 13    I'm sure he could testify to that.

 14               THE COURT:    -- that at some point he wanted an

 15    interview.

 16               You can do what you said you wanted to do and then

 17    you can do what I suggested you could do.

 18               MR. GADD:    Those were the two things.      Thank you,

 19    Your Honor.

 20               THE COURT:    You haven't convinced me on the first

 21    thing.   You do understand that, right?

 22               MR. GADD:    Yes, sir.    I'll look at it again.

 23               THE COURT:    All right.

 24               Now we're probably looking at five to 12.

 25               We'll be in recess.
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3865 Page 59 of 59
                                                                            62




  1               (Recess)

  2               THE COURT:    Where are we on the fight we ended

  3    with?

  4               MR. GADD:    No further resolution.

  5               THE COURT:    Were you complaining about what he

  6    said during his opening statement or something he's asked a

  7    witness?

  8               MR. GADD:    Just the opening statement.

  9               THE COURT:    But you didn't object at the time

 10    either.

 11               MR. GADD:    No, sir, chose not to object out of a

 12    professional courtesy.

 13               THE COURT:    But you're not objecting to anything

 14    he's asked a witness yet?

 15               MR. GADD:    I have not made an objection, no.

 16               THE COURT:    Precisely, again, what do you think he

 17    should not have said in his opening statement?

 18               MR. GADD:    Drawing a comparison between the

 19    charges Mr. Shamo faces and those faced by his

 20    co-defendants.    Charging decisions at their core are made by

 21    the grand jury.    Mr. Shamo was charged with Count 1, CCE.

 22    His other co-defendants weren't.       It's not for this jury to

 23    try to rejudge what the grand jury did or didn't do.

 24               So I fully agree that they can talk about what

 25    someone pleaded guilty to and then minimum and maximum
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3866 Page 60 of 60
                                                                            62




  1    sentences as impeachment.      It was that next step, drawing

  2    the comparison between who got charged in Count 1 and who

  3    didn't that I saw as impermissible.

  4               THE COURT:    Mr. Skordas.

  5               MR. SKORDAS:    Your Honor, the grand jury, as this

  6    Court knows, issues indictments based on evidence presented

  7    to it by the United States Attorney's Office.         Had they

  8    sought an indictment for the CCE count, they would have

  9    received that.    But they didn't.

 10               THE COURT:    But isn't it true that we usually

 11    don't get into the charging decisions in a trial?

 12               MR. SKORDAS:    Yes.

 13               THE COURT:    What would your curative be?

 14               MR. GADD:    We have a couple Pattern Instructions,

 15    the Tenth Circuit Pattern Instructions that I think hit

 16    right on this point.     And I apologize for not pulling those

 17    numbers.   They're two of the instructions that we proposed

 18    as final instructions.     So my thought is maybe this

 19    afternoon I could try to draft up something that's neutral

 20    but explains to the jury their role and specifically

 21    indicates that making those comparisons is not within their

 22    role, and then just explaining it to them perhaps tomorrow

 23    morning.

 24               THE COURT:    Well, take a shot at it.      And run it

 25    by -- I mean send it to him, send it to me.         We'll talk
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3867 Page 61 of 61
                                                                            62




  1    about it tomorrow.

  2               MR. GADD:    Will do.    Thank you, sir.

  3               THE COURT:    Let's get the jury and proceed.

  4               (Whereupon, proceedings not transcribed.)

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
Case 2:16-cr-00631-DAK Document 261-1 Filed 08/21/19 PageID.3868 Page 62 of 62
                                                                             1




  1                       C E R T I F I C A T E

  2

  3

  4               I hereby certify that the foregoing matter is

  5    transcribed from the stenographic notes taken by me and is a

  6    true and accurate transcription of the same.

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16    PATTI WALKER, CSR-RPR-CP      DATED: 8-19-19
       Official Court Reporter
 17    351 South West Temple, #8.431
       Salt Lake City, Utah 84101
 18    801-364-5440

 19

 20

 21

 22

 23

 24

 25
